          Case 2:22-cv-01656-DAD-JDP Document 42-9 Filed 05/20/24 Page 1 of 3




                                   Exhibit H




Decl. of Carly J. Munson in Support of Mot. to Dismiss First Am. Compl. & Corresponding Req. for Judicial Notice
                                          (2:22-CV-01656-DAD-JDP)
                                                                                       200V372366
                                                                                     Santa Clara — Civil
                         Case 2:22-cv-01656-DAD-JDP Document 42-9 Filed 05/20/24 Page 2 of 3                                                                               CIV-M’l Qorum
ATTORNEY OR PARTY WITHOUT ATTORNEY:                             STATE BAR No;                                                              FOR COURT USE ONLY
NAME:          Rumduol Vuon         #264392   ;
                                                  D Ian Colbert #341424
                                                                  (              )                                                    .               .


FIRM NAME: California Cgiv(i| Rights gepértment
                                                                                                                         Elecuon'cally Flled
STREETADDRESS: 2218 Kausen Drive, Suite 100, Elk Grove, CA 95758                                                         by Superior Court 0f CA,
CITY:      Elk Grove                                                  STATE:     CA        ZIP CODE:   95758             County of Santa Clara,
TELEPHONE No.: 916-709-0687                                           FAX N0-=
                                                                                                                         0n 4/6/2023 4:34 PM
E-MAILADDRESS:          rumduol.vuong@dfeh.ca.gov; dylan.colbert@dfeh.ca.gov
                                                                                                                         Reviewed By: M_ Scrum
ATTORNEY FOR(Name):
                Plaintiff California Dep't of Fair Employment and Housing
                                                                                                                         Case #Zocv372366
SUPERIOR COURT OF CALIFORNIA, COUNTY OF SANTA CLARA
     STREETADDRESS: 191 North First Street                                                                               EnveloPe: 11646040
 MAILING ADDRESS:         191 North First Street
CITY AND ZIP CODE:     San Jose 951 1 3
          BRANCH NAME: Downtown Superior Court

               PIaintiff/Petitioner: California Dep't of Fair Employment and                Housing
Defendant/Respondent: Cisco Systems, |nc.; Sundar Iyer; Ramana Kompella

                                                                                                                          CASE NUMBER:
                                         REQUEST FOR DISMISSAL                                                            ZOCV372366

 A conformed copy will not be returned by the clerk unless a method of return is provided with the document.
 This form may not be used for dismissal of a derivative action or a class action or of any party or cause of action in a class
 action. (Cal. Rules of Court, rules 3.760 and 3.770.)

          TO THE CLERK: Please dismiss this action as follows:
1.

          a.

          b.
                (1)

                      E      With prejudice
                             Complaint
                                                    (2)   E
                                                          E      Without prejudice
                                                                 Petition
                (1)

                (3)   E
                      E
                                                    (2)

                             Cross-complaint ﬁled by (name):
                             Cross-complaint ﬁled by (name):
                                                                                                                              on (date):
                                                                                                                              on (date):
                (4)

                (5)

                (6)
                      E      Entire action of all parties and all causes of action

                             Other (specify):* Defendants Sundar lyer and Ramana Kompella, all parties to bear their own costs
2.
          The court   E E
          (Complete in all cases except family law cases.)
                             did        did not  waive court fees and costs for a party in this case. (This information may be obtained from the
          clerk. If court fees and costs were waived, the declaration on the back of this form must be compieted).

Date:Apri| 6, 2023
Dylan Colbert
(TYPE OR PRINT NAME OF
                        E E            ATTORNEY           PARTY WITHOUT ATTORNEY)
                                                                                                   ’       Dim Caﬁuf              SIGNATURE)
*lf dismissal requested is of specified parties only of specified causes of action only,
or of specified cross-complaints only, so state and identify the parties, causes of
action, or cross-complaints to be dismissed.
                                                                                                  E        plaintiff/petitioner

                                                                                                           Cross Complainant
                                                                                                                                   E
                                                                                                  Attorney 0r party Without attorney for:
                                                                                                                                            Defendant/Respondent


3.        TO THE CLERK: Consent to the above dismissal is hereby given.**
Date:
                                                                                                   ’
(TYPE 0R PRINT NAME 0F
**
                                 E     ATTORNEY     E     PARTY WITHOUT ATTORNEY)

     a cross-complaint — or Response (Family Law) seeking afﬁrmative
                                                                                                                                  (SIGNATURE)

     If

relief — is on file, the attorney for cross-complainant (respondent) must sign

this consent if required by Code of Civil Procedure section 581 (i) or (j).
                                                                                                  E
                                                                                                  E        PIaintiﬁ/Petitioner
                                                                                                           Cross Complainant
                                                                                                                                   E
                                                                                                  Attorney 0r party Without attorney for:
                                                                                                                                            Defendant/Respondent



(To be completed by clerk)
4.                Dismissal entered as requested on (date).4/5/2023 4134 PM
5
6.
          E
          E       Dismissal entered on        (date):

                  Dismissal not entered as requested for the following reasons (specify):
                                                                                             as to only (name):




7.         E
           E
          a.          Attorney or party without attorney notified on (date).4/6/2023 4534 PM
          b.



Date: 4/6/2023 4:34 PM
                                 a copy to be conformed          E
                      Attorney or party without attorney not notified. Filing party failed to provide

                      E                                                  means to return conformed copy
                                                                       M. s 0mm
                                                                Clerk, by                                                                              ,   Deputy            Page 1 on

Form Adopted for Mandatory Use                                                                                                       Code of Civil Procedure, § 581 et seq.; Gov. Code,
Judicial Council of California                                        REQUEST FOR DISMISSAL                                                  § 68637(c); Cal. Rules of Court, rule 3.1390
ClV-110 [Rev. Jan. 1, 2013]                                                                                                                                           www.courts.ca.gov
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                                                                                                                                        CIV-1 10
                                                                                                       CASE NUMBER:
           PIaintiff/Petitioner: California Dep't of Fair Employment and       Housing
                                                                                                       ZOCV372366
    Defendant/Respondent: Cisco Systems, |nc.; Sundar Iyer; Ramana Kompella




                                       COURT'S RECOVERY OF WAIVED COURT FEES AND COSTS
                    If   a party whose court fees and costs were initially waived has recovered or will recover $10,000 or more in
                    value by way of settlement, compromise, arbitration award, mediation settlement, or other means, the
                    court has a statutory lien on that recovery. The court may refuse to dismiss the case until the lien is
                    satisfied. (Gov. Code, § 68637.)




                                                Declaration Concerning Waived Court Fees
1.    The court waived court fees and costs in this action for (name): Plaintiff California Dep't of Fair Employment and Housing

2.    The person named in item 1 is (check one below):
      a.           not recovering anything of value by this action.

       E
      b-           recovering less than $10,000 in value by this action.



      EE
      c.           recovering $10,000 or more in value by this action.     (If item   20 is checked, item 3 must be completed.)
              A|| court fees and court costs that were waived in this action have been paid to the court          (Check one):    Yes
3.
                                                                                                                                        / No

|   declare under penalty of perjury under the laws of the State of California that the information above is true and correct.


Date: April 6, 2023

Dylan Colbert

(TYPE 0R PRINT NAME 0F             ATTORNEY   E    PARTY MAKING DECLARATION)
                                                                                    ’    EM
                                                                                         i
                                                                                            65%
                                                                                                              <   SIGNATURE)




Clv—11o [Rev. January 1, 2013]                              REQUEST FOR DISMISSAL                                                        Page 2 of2
